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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------- )(
  UNITED STATES OF AMERICA,


                    -against-                                         MEMORANDUM AND ORDER

                                                                      06 CR 0181 (RJD)
  CARMINE BAUDANZA, et al.

                             Defendants.
  -------------------------------------------------------- )(

  DEARIE, District Judge.

           On December 13, 2007, this Court entered judgment of conviction against defendant

  Carmine Baudanza and in favor of the United States of America. (J. 1, ECF No. 340). The

  sentence imposed as part of that judgment included an order directing defendant to pay

  restitution in the amount of$106,515.50 (the "restitution obligation"). (J. 4). By Memorandum

  and Order dated February 26, 2014, the Court determined that it has the statutory authority and

  jurisdiction to issue an order deeming defendant's restitution obligation satisfied, pursuant to

  defendant's agreement to accomplish the surrender by his corporation of a civil default judgment

  against a limited liability company owned primarily by one of the two victims. (Mem. and Order

  10-13, ECF No. 431). The Court has received the consent ofboth victims to entry of such an

  order.

           Accordingly, it is hereby ordered that:

           (1) Defendant shall file proof with the Court that he has filed a Satisfaction of Judgment

  with the Supreme Court, County ofKings in the matter of Carmine's Dream, Inc. v. Ceasar's

  Bay Shopping Center, LLC, et al., Inde)( No. 32456/2007, in accordance with the stipulated order

  entered in that matter by the Han. David I. Schmidt on March 13, 2013.
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         (2) Upon receipt of proof that defendant has filed the Satisfaction of Judgment and the

  Court's order approving said proof, the Clerk of Court shall cancel, satisfy, and discharge the

  restitution obligation solely as to defendant Carmine Baudanza.



  SO ORDERED.

  Dated: Brooklyn, New York                                    /s/ Judge Raymond J. Dearie
         March 18,2014
                                                               Rlt10ffiY.(. DEARIE
                                                               Uni ed States D1stnct Judge




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